Case 2:05-cr-20169-BBD Document 10 Filed 08/25/05 Page 1 of 6 PagelD 8

UN|TED STATES DlSTRlCT COURT k _l _p __W" 3 (,_
WESTERN DlSTRlCT OF TENNESSEE ‘""`“““"’ *' " “""" ""
MEMPHlS DlV|S|ON
05 iiUG 25 Pi"i 21 l'l
UN|TED STATES OF AMER|CA
-v- 2:05CR20169-01-D

 

EDD|E LEE GALLOWAY
Edwin A. Per;\¢, FPD
Defense Attorney
200 Jefferson Ave., Ste. 200
Memphis, TN 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the information on May 04, 2005. According|y,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
rule & section M_M Offense Me_rl§l
Concluded
18 U.S.C. § 659 Theft from lnterstate Shipment 04/13/2004 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of lmposition of Sentence:
Defendant’s Date of Birth: 05/03/1958 August 01, 2005
Deft’s U.S. lV|arsha| No.: 18649-009

Defendant’s Nlai|ing Address:
1486 Eason Ave.
Memphis, TN 38116

  

M

BERN|CE B. DONALD
UN|TED STATES DlSTRlCT JUDGE

"~° ckat sheet in compiiance
1fit entered on the do Augus ' 2005

irl/or 32(b) FFiCrP 00 ..______._.-.___---

Case 2:05-cr-20169-BBD Document 10 Filed 08/25/05 Page 2 of 6 PagelD 9

Case No: 2:050R20169-01 Defendant Name: Eddie Lee GALLOWAY Page 2 of 5
lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 12 Months.

The defendant is remanded to the custody of the United States Marshal.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Nlarshal

Case 2:05-cr-20169-BBD Document 10 Filed 08/25/05 Page 3 of 6 PagelD 10

Case No: 2:05CR20169-01 Defendant Name: Eddie Lee GALLOWAY Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1 . The defendant shall not leave thejudicial district without the permission of the court or probation ofticer;

2. The defendant shall report to the probation ofhcer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation ocher and follow the instructions of
the probation omcer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
empioyment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use.

distribute, or administer any narcotic or other controlled substance. or any paraphernalia related to such
substances. except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant sha|i not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation ocher;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

Case 2:05-cr-20169-BBD Document 10 Filed 08/25/05 Page 4 of 6 PagelD 11

Case No: 2:050R20169-01 Defendant Name: Eddie Lee GALLOWA¥ Page 4 of 5

10. The defendant shall notify the probation ocher within 72 hours of being arrested or questioned by a
law enforcement officer;

11 . The defendant shall not enter into any agreement to act as an informer or a special agent of a iaw
enforcement agency without the permission of the court;

12. As directed by the probation ofticer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and sha|i permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the fo|fowing additional conditions of supervised
release:

The defendant shall participate in substance abuse testing and treatment programs as

directed by the Probation Officer;

The defendant shall obtain and maintain full-time employment as directed by the Probation

Oflicer;

The defendant shall provide third party risk notification as directed by the Probation Officer;

The defendant sha|i cooperate with DNA collection as directed by the Probation Officer.

CRiM|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00 $12851.05

The Special Assessment shall be due immediately.

FlNE
No fine imposed.

Case 2:05-cr-20169-BBD Document 10 Filed 08/25/05 Page 5 of 6 PagelD 12

Case No: 2:050R20169-01 Defendant Name: Eddie Lee GALLOWAY Page 5 of 5

REST|TUT|ON

Restitution in the amount of$12851 .05 is hereby ordered. The defendant shall make
restitution to the following victims in the amounts listed below.

Priority
Total Amount of Order
Name of Pa]£ee Amount Restitution Ordered or
of Loss Percentage
of Payment

Yel|ow Transportation, $12851.05 $12851.05
Attn: Case #1 Mem 04-098

lf the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the totai criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:

The Defendant shall pay restitution in regular monthly installments of not less than
10% of gross monthly income. interest requirement is waived. The defendant shall
notify the Court and the United States Attorney of any material change in economic
circumstances that may affect defendant’s ability to pay restitution.

Unless the court has expressly ordered othen/vise in the special instructions above, if this judgment
imposes a period of imprisonment payment of criminal monetary penalties shall be due during the
period of imprisonment All criminal monetary penalties. except those payments made through the
Federal Bureau of Prisons’ inmate Financial Responsibi|ity Program, are made to the clerk of the
court, unless othen)vise directed by the court, the probation officer, or the United States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CR-20169 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Edwin A. Perry

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honcrable Bernice Donald
US DlSTRlCT COURT

